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   1 ELLIS GEORGE LLP
     Trent Copeland (State Bar No. 136890)
   2  tcopeland@ellisgeorge.com
     Keian Vahedy (State Bar No. 316708)
   3  kvahedy@ellisgeorge.com
     2121 Avenue of the Stars, 30th Floor
   4 Los Angeles, California 90067
     Telephone: (310) 274-7100
   5 Facsimile: (310) 275-5697
   6 K&L GATES LLP
     Ryan Q. Keech (State Bar No. 280306)
   7   Ryan.Keech@klgates.com
     Kevin S. Asfour (State Bar No. 228993)
   8   Kevin. Asfour@klgates.com
     Zachary T. Timm (State Bar No. 316564)
   9   Zach.Timm@klgates.com
     10100 Santa Monica Blvd., 8th Floor
  10 Los Angeles, CA 90067
     Telephone: (310) 552-5000
  11 Facsimile: (310) 552-5001
  12 Attorneys for Plaintiff JACQUELYN
     “JACKIE” LACEY, in her individual
  13 capacity; and JACQUELYN “JACKIE”
     LACEY as trustee of the D and J Lacey
  14 Family Trust dated November 23, 2016
  15 Additional Counsel Listed on Next Page
  16                                             UNITED STATES DISTRICT COURT
  17                                          CENTRAL DISTRICT OF CALIFORNIA
  18                                                            WESTERN DIVISION
  19 JACQUELYN “JACKIE” LACEY,                                                    Case No. 2:24-cv-05205-FMO-MAA
     in her individual capacity; and
  20 JACQUELYN “JACKIE” LACEY                                                     [Assigned to Hon. Fernando M. Olguin,
  21 as trustee of the D and J Lacey Family                                       Courtroom 6D; Magistrate Judge: Hon.
     Trust dated November 23, 2016,                                               Maria A. Audero, Courtroom 880]
  22
                   Plaintiffs,                                                    JOINT REPORT PURSUANT TO
  23                                                                              FRCP 26(F) AND C.D. CAL. LOCAL
            vs.                                                                   RULE 26-1
  24
  25 STATE FARM GENERAL                                                           Scheduling Conference:
     INSURANCE COMPANY, an Illinois                                               Date: August 1, 2024
  26 corporation, and DOES 1-50, inclusive,                                       Time: 10:00 a.m.
                                                                                  Crtrm.: 6D
  27                           Defendants.
  28                                                                              Case commenced: June 20, 2024
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   1 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
       A Limited Liability Partnership
   2   Including Professional Corporations
     JENNIFER HOFFMAN, Cal. Bar No. 240600
   3 333 South Hope Street, 43rd Floor
     Los Angeles, California 90071-1422
   4 Telephone: 213.620.1780
     Facsimile: 213.620.1398
   5 Email:       jhoffman@sheppardmullin.com
   6 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
       A Limited Liability Partnership
   7   Including Professional Corporations
     JEFFREY S. CROWE, Cal. Bar No. 216055
   8 650 Town Center Drive, 4th Floor
     Costa Mesa, California 92626-1993
   9 Telephone: 714.513.5100
     Facsimile: 714.513.5130
  10 Email:       jcrowe@sheppardmullin.com
  11 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
          A Limited Liability Partnership
  12      Including Professional Corporations
     ANDREA S. WARREN, Cal. Bar No. 327033
  13 501 West Broadway, 18th Floor
     San Diego, California 92101-3598
  14 Telephone: 619.338.6500
     E mail:     awarren@sheppardmullin.com
  15
     Attorneys for Defendant
  16 STATE FARM GENERAL INSURANCE
     COMPANY
  17
  18
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   1               Pursuant to Federal Rule of Civil Procedure 26(f), Plaintiffs Jacquelyn
   2 “Jackie” Lacey, in her individual capacity; and Jacquelyn “Jackie” Lacey as trustee
   3 of the D and J Lacey Family Trust dated November 23, 2016 (“Plaintiffs” or
   4 “Laceys”) on the one hand, and Defendant State Farm General Insurance Company
   5 (“State Farm” or “Defendant”), on the other hand, by and through their counsel of
   6 record, hereby submit the following Joint Rule 26(f) Report in advance of the
   7 Scheduling Conference.
   8 I.            STATEMENT OF THE CASE
   9               A.          Plaintiffs’ Statement
  10               This bad faith action arises from State Farm’s breach of insurance contract
  11 and willful failure to protect its insureds, Jacqueline “Jackie” Lacey and Trustee of
  12 the D and J Lacey Family Trust dated November 23, 2016, which is the successor in
  13 interest to David Lacey, who passed away on September 5, 2022.
  14               On or about October 19, 2020, the three protesters who had confronted Mr.
  15 Lacey at his front door, Melina Abdullah, Dahlia Ferlito, and Justin Marks, sued the
  16 Laceys in the Los Angeles Superior Court action styled Abdullah, et al. v. Lacey, et
  17 al. Case No. 20STCV40080 (“Abdullah Action”). Among other things, the
  18 plaintiffs alleged a cause of action for negligence against both of the Laceys, and
  19 sought damages for alleged injuries to their “minds and bodies,” based upon their
  20 early-morning interaction with Mr. Lacey at his front door. In addressing the
  21 protestors, Mr. Lacey (i) simply wanted them to leave his home, and asked them to
  22 do so; (ii) made absolutely no physical contact with any of them, nor did he even
  23 attempt to physically contact them in any way; (iii) had no intention of harming any
  24 of them; and (iv) had no expectation that they would suffer any harm as a result of
  25 his actions—nor would any reasonable person have such an expectation. As such,
  26 any injury that the protestors allegedly suffered was purely accidental, unintended,
  27 and unforeseen from the standpoint of Mr. Lacey.
  28               Immediately upon learning of the Abdullah Action, the Laceys reported it to
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   1 State Farm, because the underlying claims plainly obligated State Farm, at a
   2 minimum, to defend both of the Laceys under the Laceys’ State Farm insurance
   3 policies immediately, given that the claims raised, at the very least, the possibility of
   4 a covered loss as to both insureds.
   5               From 2020 to present, the Laceys repeatedly requested that State Farm defend
   6 and indemnify them against the covered claims. But State Farm was, and continues
   7 to be, defiant. Knowing the Laceys did not have private counsel at the time, State
   8 Farm fabricated excuse after excuse to delay and shirk its coverage obligations
   9 regarding the Abdullah Action, including mischaracterizing the nature of the claims
  10 at dispute, misrepresenting the terms of applicable coverage, and later even hiring
  11 outside counsel to intimidate the Laceys from seeking coverage altogether.
  12               State Farm’s delay tactics and refusals were entirely without justification, and
  13 only became worse. For example, although State Farm eventually retained panel
  14 counsel (Harry Safarian of The Safarian Firm, APC) on or about November 26,
  15 2020, to defend Jackie Lacey, State Farm expressly instructed panel counsel not to
  16 defend David Lacey. It was not until March 12, 2021, when the Abdullah Action
  17 had already been pending for approximately five months, that State Farm reluctantly
  18 agreed to extend a limited defense to Mr. Lacey – subject to a purported reservation
  19 of rights and a significant hourly rate reduction. By that point, however, State Farm
  20 had legally forfeited any ability to impose statutory “rate-capping” on Mr. Lacey’s
  21 defense fees, given that the insurer had failed and refused to defend Mr. Lacey for
  22 five months in disregard of its coverage obligations; accordingly, neither Mr. Lacey
  23 nor his counsel ever agreed to any such rate-capping. Moreover, within months of
  24 the representation commencing, State Farm either “slow paid,” “low paid” or, as
  25 time went on, “no paid” Mr. Lacey’s legal fees – leaving the Laceys exposed to
  26 massive legal expenses which State Farm had agreed to pay and was obligated by
  27 law to pay.
  28               As the Laceys’ trial team began ramping up for trial to defend against the
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   1 claims of the “activists,” State Farm initiated backdoor negotiations through its
   2 panel counsel – who State Farm demanded be given some access to Mr. Lacey’s
   3 attorneys’ meetings and work product. Through this lawyer, State Farm was able to
   4 leverage his “access” to the Lacey trial team to surreptitiously negotiate a settlement
   5 with the activists’ lawyer of their claims against Mr. Lacey—all without the
   6 knowledge, involvement or consent of the insureds or their independent counsel, in
   7 violation of State Farm’s legal obligations to its insureds. It is believed and
   8 understood that Mr. Safarian’s private communications with the underlying
   9 plaintiffs’ counsel took place via private text messages, phone conversations and
  10 email from at least July 2023 - March 2024. When Mrs. Lacey—his putative
  11 client—asked him to turn over these text messages, Mr. Safarian refused.
  12               Mrs. Lacey as Trustee of the Trust (and as a beneficiary thereof), in
  13 particular, remains damaged as she is left holding the bag for Mr. Lacey’s (and later
  14 the Trust’s) attorneys’ fees.
  15               Plaintiffs further note that they dispute much of Defendant’s characterization
  16 below and statements throughout this joint report, and do not concede the accuracy
  17 of any such statements (regardless of whether they are expressly addressed in
  18 Plaintiffs’ sections).
  19               B.          Defendant’s Statement
  20               State Farm disputes Mrs. Lacey’s characterization of this dispute, and
  21 contends that this case is a disguised attorneys’ fees dispute between her counsel
  22 and State Farm, which is subject to mandatory arbitration under California Civil
  23 Code section 2860. It arises out of an underlying lawsuit filed against Mrs. Lacey
  24 and her late husband David Lacey in Los Angeles Superior Court, Abdullah, et al. v.
  25 Lacey, Case No. 20STCV40080 (the “Abdullah Action”), which State Farm
  26 defended and ultimately settled in exchange for dismissals of the Laceys with
  27 prejudice, without any personal contribution from them.
  28               The plaintiffs in the Abdullah Action alleged that they were assaulted by Mr.
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   1 Lacey brandishing a gun on his porch during their demonstration at the Lacey
   2 residence. In their initial complaint, the plaintiffs alleged causes of action for
   3 Negligence, Civil Rights Violations, Battery and Assault, and Intentional Infliction
   4 of Emotional Distress.
   5               The Laceys tendered their defense to State Farm, seeking coverage under
   6 their Homeowners (“HO”) and Personal Liability Umbrella Policy (“PLUP”). State
   7 Farm accepted the defense of Mrs. Lacey. State Farm retained Harry Safarian of
   8 The Safarian Firm, APC to defend Mrs. Lacey in the Abdullah Action.
   9               State Farm initially declined a defense to Mr. Lacey in the Abdullah Action,
  10 which did not allege facts suggesting any “occurrence” or “accident” as to Mr.
  11 Lacey, or any “offense” under the PLUP. Instead, as Mrs. Lacey alleges in her
  12 Complaint in this lawsuit, Mr. Lacey intentionally “confront[ed]” the plaintiffs in
  13 the Abdullah action with a gun and “instructed them to leave” his property.
  14 (Complaint, ¶ 5). Mr. Lacey retained Ellis George LLP (formerly known as Browne
  15 George Ross O’Brien Annaguey & Ellis LLP) (“Ellis George”), to defend him in the
  16 Abdullah Action. Ryan Keech subsequently moved from Ellis George to the K&L
  17 Gates firm, and continued to participate in the defense of The Estate of David Lacey
  18 in the Abdullah Action.
  19               In February 2021, the plaintiffs in the Abdullah Action filed a Second
  20 Amended Complaint, which added a cause of action for False Imprisonment, an
  21 “offense” under the PLUP. State Farm then accepted tender of Mr. Lacey’s defense
  22 under the PLUP pursuant to a reservation of rights because it believed that the False
  23 Imprisonment cause of action may trigger a potential for coverage under the PLUP
  24 (even though that theory of liability directly conflicted with the factual allegations of
  25 the Complaint). On March 12, 2021, State Farm issued its reservation of rights
  26 letter agreeing to defend Mr. Lacey, and agreeing to recognize his acting counsel as
  27 Cumis defense counsel. State Farm agreed to pay Mr. Lacey’s reasonable attorneys’
  28 fees subject to the terms and limitations of the PLUP and California law, including
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   1 California Civil Code section 2860. State Farm and Cumis counsel agreed to an
   2 hourly rate of $225 per hour. Later, when Mr. Keech left Ellis George and
   3 reportedly took the case with him to his new firm, but Ellis George nonetheless
   4 continued billing substantial fees on the matter, State Farm expressly reserved the
   5 right to question the reasonableness and necessity of two law firms defending The
   6 Estate of David Lacey.
   7               Mr. Lacey passed away in 2022 and his Cumis counsel continued on as
   8 counsel for his Estate. The Estate’s Cumis counsel subsequently obtained summary
   9 adjudication on the False Imprisonment cause of action in February 2023. As a
  10 result, as of that time, the defense of the Abdullah Action related only to claims not
  11 even potentially covered under the policies. State Farm nonetheless continued
  12 defending the Abdullah Action subject to its reservation of rights.
  13               In or around June 2023, Mr. Safarian sent Offers of Compromise pursuant to
  14 California Code of Civil Procedure section 998 with respect to the claims alleged
  15 against Mrs. Lacey individually in the Abdullah Action. Plaintiffs in the Abdullah
  16 Action accepted the 998 offers and State Farm has paid all amounts pursuant to the
  17 998 offers. In July 2023, plaintiffs in the Abdullah Action dismissed all claims
  18 alleged against Mrs. Lacey individually in the Abdullah Action with prejudice.
  19               Upon dismissal of Mrs. Lacey, State Farm selected Mr. Safarian to participate
  20 in the defense of The Estate of David Lacey (as substituted for Mr. Lacey upon his
  21 death) pursuant to California Civil Code section 2860. Mr. Safarian informed Ellis
  22 George that he had been instructed to participate in the defense of The Estate of
  23 David Lacey on or around July 20, 2023.
  24               On August 31, 2023, State Farm issued its supplemental reservation of rights
  25 that agreed to continue its defense of Mr. Lacey’s Estate, but expressly reserved its
  26 right to seek reimbursement of defense costs solely allocable to non-covered claims
  27 pursuant to Buss v. Superior Court, 16 Cal 4th 35 (1997). That would include all
  28 defense costs incurred in the defense of Mr. Lacey’s Estate after dismissal of the
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   1 False Imprisonment claim in February 2023.
   2               During mediation in March 2024, State Farm agreed to settle the entire
   3 Abdullah Action for less than the $1.3 million combined policy limits and without
   4 any personal contribution from Mrs. Lacey, either individually or in her capacity as
   5 the Trustee. Mrs. Lacey and her counsel participated in the mediation. They also
   6 drafted and executed the settlement agreement without any involvement from State
   7 Farm. State Farm has paid all amounts due and owing pursuant to the settlement
   8 agreement. In July 2024, plaintiffs in the Abdullah Action and Mr. Lacey’s Estate
   9 filed a Joint Stipulation of Dismissal.
  10               To date, State Farm has paid more than $800,000 towards the defense of Mr.
  11 Lacey and his Estate. This does not include amounts paid for Mrs. Lacey’s defense
  12 and to settle the Abdullah Action, which State Farm also fully funded and paid.
  13               Notwithstanding that State Farm (i) defended Mrs. Lacey, (ii) defended Mr.
  14 Lacey and the Estate through Cumis counsel following the Second Amended
  15 Complaint and through the conclusion of the Abdullah Action, even after the only
  16 potentially covered claim alleged against him was dismissed, and (iii) paid to fully
  17 and finally settle the Abdullah Action without any personal contribution from Mrs.
  18 Lacey, Mr. Lacey or the Estate, Mrs. Lacey filed this bad faith action in her
  19 individual capacity and also in her capacity as trustee of the D and J Lacey Family
  20 Trust. Mrs. Lacey alleged two causes of action: breach of contract and bad faith.
  21               State Farm denies that it breached the contract or acted in bad faith.
  22               State Farm also contends that the gravamen of Mrs. Lacey’s claims center on
  23 the dispute regarding the amount paid by State Farm for independent counsel or
  24 “Cumis” fees arising from or related to the defense of David Lacey and The Estate
  25 of David Lacey in the Abdullah Action, which dispute is subject to mandatory
  26 arbitration under California Civil Code section 2860.
  27               State Farm additionally contends that it has a right to offset or reduction of
  28 any amounts paid towards the defense of non-covered claims against any damages
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   1 that Mrs. Lacey may prove pursuant to the principles recognized in Buss. This
   2 includes amounts paid towards the defense of The Estate of David Lacey following
   3 dismissal with prejudice of the False Imprisonment cause of action in July 2023,
   4 which exceed $300,000.
   5 II.           SUBJECT MATTER JURISDICTION
   6               Defendants contend, and Plaintiffs do not contest, that this Court has
   7 jurisdiction pursuant to 28 U.S.C § 1332(a) because the matter in controversy
   8 exceeds the sum or value of $75,000 and is between citizens of different states.
   9 Defendant removed the action from Los Angeles Superior Court on June 21, 2024.
  10 III.          LEGAL ISSUES
  11               A.          Plaintiffs’ Position
  12               Plaintiffs are asserting claims for Breach of Contract and Breach of Implied
  13 Covenant of Good Faith and Fair Dealing (Bad Faith). Implied by law in the State
  14 Farm Insurance Policies is a duty of good faith and fair dealing prohibiting State
  15 Farm from doing anything to deprive Plaintiffs of the benefits of the insurance
  16 policies and requiring that State Farm deal fairly and in good faith with its insureds.
  17               Despite Plaintiffs’ timely and sufficient tender of the Abdullah Action to State
  18 Farm, State Farm breached the applicable insurance policies by, inter alia, failing
  19 and refusing to timely and reasonably provide for a legal defense of Mr. Lacey,
  20 including payment of his attorneys’ fees related to the Abdullah Action. Moreover,
  21 upon belatedly agreeing to defend Mr. Lacey, State Farm improperly sought to
  22 impose statutory rate-capping on Mr. Lacey’s defense fees, but State Farm had
  23 forfeited any such ability by virtue of its failure and refusal to defend Mr. Lacey for
  24 approximately five months. Further, even apart from its unlawful imposition of
  25 hourly rate caps, State Farm breached the policies and their implied covenant of
  26 good faith and fair dealing by engaging in prolonged delays in making payment
  27 toward Mr. Lacey’s defense fees and costs.
  28               Plaintiffs dispute Defendants’ attempt to arbitrate the parties’ attorneys fee
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   1 dispute prior to a legal determination of the alleged or claimed coverage issues. State
   2 Farm forfeited and/or is estopped from asserting all rights under the policies of
   3 insurance including any rights under section 2860 of the California Civil Code
   4 because State Farm did not meet its duty to defend and accept tender of Mr. Lacey’s
   5 defense at the outset. State Farm may dispute Plaintiffs’ attorneys’ fees’ claims (a
   6 dispute which the court will ultimately resolve), but it is not entitled to recharacterize
   7 Plaintiffs’ claims to suit its aim of filing an inappropriate motion to compel
   8 arbitration, prior to the adjudication of Plaintiffs’ contract and tort claims. See, e.g.,
   9 Janopaul + Block Companies v. Superior Court, 200 Cal. App. 4th 1239 (2011). In
  10 this joint report, Plaintiffs will not and need not engage in an exhaustive discussion
  11 of the relevant case law, but notes simply that the Janopaul line of authority is directly
  12 on point, and mandates that where, as here, an insured alleges an insurer’s breach of
  13 contract and bad faith based upon a refusal to defend an insured, such that the insurer
  14 has waived any rights under section 2860, those issues of breach must be resolved
  15 before any potential arbitration under 2860, because the resolution of such issues may
  16 very well eliminate the possibility of any such arbitration. In attempting to argue
  17 otherwise, State Farm disregards this controlling authority and instead relies on cases
  18 that are readily distinguishable and inapposite (obviously, Plaintiffs reserve all rights
  19 to brief this issue in the event that State Farm files a motion to compel arbitration).
  20               Moreover, Plaintiffs dispute that State Farm is entitled to any offset or
  21 reduction of amounts owing under Buss v. Superior Court, 16 Cal. 4th 35 (1997), for
  22 multiple, independent reasons, including, without limitation, (i) State Farm did not
  23 timely and sufficiently reserve any such right; (ii) contrary to State Farm’s
  24 contentions herein, the underlying case did not consist solely of claims that were
  25 not even potentially covered following the summary adjudication; (iii) State Farm
  26 cannot demonstrate that any item of defense fees or costs is solely allocable to a
  27 non-covered claim; and (iv) State Farm violated its statutory obligation to cooperate
  28 with independent counsel and allow independent counsel to participate in all aspects
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   1 of the litigation, including, without limitation, the settlement of claims against Mr.
   2 Lacey that State Farm unilaterally brokered.
   3               B.          Defendant’s Position
   4               The key legal issues are: (1) whether State Farm had a duty to defend Mr.
   5 Lacey from the time of the initial tender of the Complaint in the Abdullah Action
   6 until the Second Amended Complaint, (2) whether State Farm breached the duty to
   7 defend or acted in bad faith based on the timing of its payments to Cumis counsel,
   8 (3) whether State Farm breached the contract or acted in bad faith by settling the
   9 Abdullah Action and obtaining dismissals with prejudice on behalf of both Mr. and
  10 Mrs. Lacey without any contribution from them, (4) whether Cumis counsel is
  11 entitled to the difference between its claimed hourly rate of more than $900 an hour
  12 and the hourly rate that State Farm paid pursuant to Section 2860 from March 12,
  13 2021 forward, and (5) the reasonableness and necessity of Cumis counsel’s
  14 attorneys’ fees from March 12, 2021 forward.
  15               State Farm believes the latter two issues must proceed to mandatory
  16 arbitration pursuant to California Civil Code Section 2860. Cal. Civ. Code § 2860;
  17 Truck Insurance Exchange v. Superior Court, 51 Cal. App. 4th 985, 998 (1996).
  18               State Farm contends that the first three legal issues lack merit, and were
  19 manufactured in an attempt to avoid Section 2860 arbitration, which fails. “On its
  20 face, § 2860 does not contain an exception for fee disputes where other claims or
  21 issues are alleged.” Compulink Mgmt. Ctr., Inc. v. St. Paul Fire & Marine Ins. Co.,
  22 169 Cal. App. 4th 289, 296-97 (2008); Fontana Union Water Co. v. Arch Ins. Co.,
  23 2016 WL 9045966, at *3 (Cal. Ct. App. Apr. 13, 2016) (“section 2860 requires
  24 courts to compel arbitration of any and all Cumis fee disputes, even where other
  25 claims such as bad faith or breach of contract are alleged”).
  26               State Farm’s refusal to defend Mr. Lacey in response to the initial complaint
  27 in the Abdullah Action was not wrongful, because Mr. Lacey confronted the
  28 plaintiffs in the Abdullah Action with a gun, which constitutes assault, not a
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   1 potentially covered accident. (Complaint, ¶ 5); Stellar v. State Farm General Ins.
   2 Co., 157 Cal. App. 1498, 1505 (2007) (“The plain meaning of the word ‘accident’ is
   3 an event occurring unexpectedly or by chance. . . . An accident . . . is never present
   4 when the insured performs a deliberate act . . . [W]here the insured intended all of
   5 the acts that resulted in the victim's injury, the event may not be deemed an
   6 ‘accident’ merely because the insured did not intend to cause injury.”) (emphasis
   7 added).
   8               Plaintiff’s allegations that State Farm wrongfully settled the Abdullah Action
   9 fail because a defending insurer always has the right to control settlement. Western
  10 Polymer Technology, Inc. v. Reliance Ins. Co., 32 Cal. App. 4th 14 (1995).
  11 Moreover, the allegations make no sense, because Plaintiff not only approved of the
  12 settlement (which included a dismissal with prejudice and no personal contribution
  13 from Plaintiff), but Plaintiff also drafted and executed the underlying settlement
  14 agreement, without any involvement from State Farm.
  15               State Farm also contends that the issue of whether it allegedly “slow paid”
  16 Cumis counsel after agreeing to defend Mr. Lacey cannot be resolved until Section
  17 2860 arbitration completes and the reasonableness, necessity, and amount of Cumis
  18 counsel fees State Farm actually owed has been determined. Fontana Union Water
  19 Co. v. Arch Ins. Co., 2016 WL 9045966, at *3 (Cal. Ct. App. Apr. 13, 2016) (“The
  20 breach of contract and bad faith allegations derive from the fee dispute. In other
  21 words, if there were no fee dispute, there would be no basis for the breach of
  22 contract or bad faith allegations.”); Travelers Cas. Ins. Co. of Am. v. Visemer De
  23 Gelt, LLC, 2014 WL 12495643, at *7 (C.D. Cal. Mar. 11, 2014) (“Rulings on the
  24 appropriateness of arbitration have ultimately rested on what courts have deemed
  25 the ‘gravamen of the complaint’ . . . . An assertion of additional claims such as bad
  26 faith and breach of contract will not preclude arbitration if fees constitute the
  27 ultimate focus of the dispute.”); Arrowood Indem. Co. v. Bel Air Mart, 2013 WL
  28 2434830, at *1, 4 (E.D. Cal. June 4, 2013) (compelling arbitration where the breach
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   1 claims hinged on alleged underpayment of fees). If State Farm never had an
   2 obligation to pay the claimed fees and costs, it cannot be held liable based on the
   3 timing of payments it never owed.
   4               Finally, to the extent that Lacey establishes any liability or damages (which
   5 State Farm disputes), State Farm contends that any such award must be offset or
   6 reduced by the more than $300,000 that State Farm paid towards the defense of
   7 claims not potentially covered under the policies, under the principles set forth in
   8 Buss v. Superior Court, 16 Cal 4th 35 (1997). Following dismissal of the False
   9 Imprisonment cause of action, which Cumis counsel obtained, all defense fees and
  10 costs were necessarily incurred for the defense of non-covered claims alleged
  11 against The Estate of David Lacey.
  12 IV.           PARTIES AND EVIDENCE
  13               A.          The Parties
  14               The proper parties are currently before this Court.
  15               B.          The Evidence; Plaintiffs’ Position.
  16               The evidence that may potentially bear on the resolution of Plaintiffs’ claims
  17 includes, but is not limited to, the following: (1) the applicable State Farm
  18 insurance policies, (2) key pleadings, (3) certain discovery, facts and evidence
  19 regarding the underlying action, (4) coverage-related correspondence between State
  20 Farm and the insureds (and their respective counsel), (5) internal communications
  21 between State Farm and its panel counsel, (6) internal communications between
  22 State Farm and its agents, on one hand, and Douglas Hicks Law (including Carl
  23 Douglas), on the other hand, (7) State Farm’s claims file pertaining to this matter;
  24 (8) State Farm’s loss reserves pertaining to this matter; (9) State Farm’s
  25 communications with reinsurers pertaining to this matter (see, e.g., Lipton v.
  26 Superior Court, 48 Cal. App. 4th 1599 (1996)); (10) State Farm’s claims-handling
  27 guidelines, policies, manuals and procedures; (11) State Farm’s prior instances of
  28 alleged bad faith against other insureds (see, e.g., Colonial Life & Accident Ins. Co.
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   1 v. Superior Court, 31 Cal. 3d 785 (1982)); and (12) the unpaid balances owed from
   2 State Farm to Ellis George LLP and K&L Gates LLP. Additionally, Plaintiffs may
   3 require testimony from the following percipient witnesses: Stacey Allman, Amy
   4 Hulick, William Lowe, Harry Safarian, Mira Hashmall, and Carl Douglas.
   5               C.          The Evidence; Defendant’s Position.
   6               The percipient witnesses may include Mrs. Lacey, Carl Douglas, Harry
   7 Safarian, Ryan Keech, Trent Copeland, Keian Vahedy, Kevin Asfour, Mira
   8 Hashmall of Miller Barondess, Stacey Allman of State Farm and Heath Hawsey of
   9 State Farm.
  10               The key documents may include: (i) the Homeowners Policy and Umbrella
  11 Policy that State Farm issued to the Laceys, (ii) correspondence between State Farm
  12 and the Laceys relating to the Abdullah Action, (iii) the pleadings in the Abdullah
  13 Action, (iv) motions for summary judgment and adjudication filed in the Abdullah
  14 Action, (v) the Abdullah court’s order on the motions for summary judgment and
  15 adjudication, (vi) the court’s entries of dismissal, (vii) the settlement agreement
  16 (including the accepted mediator’s proposal) signed by Cumis counsel and Mr.
  17 Douglas, (viii) the stipulation for dismissal signed by Cumis counsel and Mr.
  18 Douglas, (ix) communications between Cumis counsel, on the one hand, and State
  19 Farm, Mr. Safarian, or Mr. Douglas on the other, (x) the 998 Offers of Compromise
  20 agreed upon to dismiss Mrs. Lacey from the Abdullah Action, (xi) Cumis counsel
  21 invoices submitted to State Farm, and (xii) documentation of State Farm’s payment
  22 of defense invoices and settlement amount.
  23 V.            DAMAGES AND INSURANCE
  24               A.          Damages
  25                           1.          Plaintiffs’ Position
  26               State Farm is liable to Plaintiffs for the compensatory damages and other
  27 general and specific damages that they have suffered, and continue to suffer,
  28 including, but not limited to the unpaid loss of $2.1 million, as well as all attorneys’
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   1 fees and costs incurred in attempting to secure benefits under the insurance policies,
   2 including the prosecution of this action and punitive damages, all in an amount to be
   3 proved at trial.
   4                           2.          Defendant’s Position
   5               State Farm contends that it has no liability and Plaintiff has no damages.
   6 State Farm funded the entire settlement of the Abdullah Action for less than the
   7 combined policy limits and without any personal contribution from the Laceys.
   8 State Farm also provided a complete defense to Mrs. Lacey at no cost to her, and
   9 paid more than $800,000 towards the defense of Mr. Lacey and The Estate of David
  10 Lacey (including for the defense of claims not even potentially covered). Moreover,
  11 State Farm contends that it has a right to offset or reduction of any amounts paid
  12 towards the defense of non-covered claims against any damages that Mrs. Lacey
  13 may prove pursuant to the principles recognized in Buss. This includes amounts
  14 paid towards the defense of The Estate of David Lacey following dismissal with
  15 prejudice of the False Imprisonment cause of action in July 2023, which exceed
  16 $300,000.
  17               B.          Insurance
  18               Not applicable (except that this dispute involves Plaintiff’s tender of defense
  19 and indemnity for the claims alleged in the Abdullah Action under Plaintiff’s
  20 Homeowners Policy and Umbrella Policy).
  21 VI.           MAGISTRATE JUDGE
  22               At this time both parties do not consent to having a Magistrate Judge preside
  23 over this action for all purposes.
  24 VII. DISCOVERY
  25               A.          DISCOVERY
  26                           1.          Status of Discovery
  27               Plaintiff’s Position
  28               Discovery is underway as Plaintiffs issued critical subpoenas to two key
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   1 witnesses—Harry Safarian (State Farm’s Panel Counsel in the Abdullah Action) and
   2 Carl Douglas—and their cellphone carriers regarding their efforts to compromise the
   3 Laceys’ interest by prioritizing State Farm’s interests in the Abdullah action.
   4               Defendant’s Position
   5               Defendant disputes that the subpoenaed records have any relevance to the
   6 determinative issues in this case, and are merely an orchestrated effort to avoid
   7 mandatory Civil Code section 2860 arbitration. The central issue here – entitlement
   8 to Section 2860 arbitration – requires no discovery, and can be resolved based on
   9 the allegations of Plaintiff’s Complaint and the documents it incorporates by
  10 reference (including Plaintiffs’ policies and the pleadings in the Abdullah Action).
  11                           2.          Discovery Plan
  12               Pursuant to FRCP Rule 26, the parties have formulated the following discovery
  13 plan:
  14                                       a.          Initial Disclosures
  15               The parties have and/or will exchange initial disclosures prior to the time set
  16 forth in FRCP 26.
  17                                       b.          Scope and Timing of Discovery
  18                                                   (i)         Plaintiffs’ Position
  19                While no specific deviations from normal practice currently appear
  20 necessary, this is a case heavily predicated on the production of text messages and
  21 internal communications by and between State Farm, including its agents, affiliates
  22 and representatives, and counsel in the Abdullah Action (Douglas Hicks Law and
  23 The Safarian Firm, APC). It is Plaintiffs’ understanding that State Farm’s counsel
  24 intends to delay and/or prevent the production of these relevant communications by
  25 objecting, moving to quash, and/or seeking to stay discovery proceedings, which
  26 would impact Plaintiffs’ ability to prepare and prosecute this case. Plaintiffs’
  27 position is that there is no legal basis to delay discovery which should commence
  28 according to statute and rule. To the extent that State Farm contends that the
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   1 pending dispute should be stayed and is subject to Cal. Civil Code Section 2860, this
   2 position is without merit. The law is clear that where an insured alleges claims for
   3 breach of contract and bad faith owing to the insurer’s wrongful failure to defend
   4 and/or wrongful delay in paying defense fees and costs (both of which form a basis
   5 for Plaintiffs’ claims) the insurer is not entitled to arbitrate any issues purportedly
   6 subject to section 2860 unless and until the contractual and bad faith claims are
   7 resolved in favor of the insurer. See, e.g., Janopaul + Block Companies v. Superior
   8 Court, 200 Cal. App. 4th 1239 (2011).
   9                                                   (ii)        Defendant’s Position
  10               State Farm is considering whether to file a motion to stay discovery pending
  11 completion of mandatory arbitration under Section 2860. In the meantime, State
  12 Farm does not object to exchanging Initial Disclosures or conducting permissible
  13 discovery of third parties. State Farm also does not object to entry of a protective
  14 order for its trade secret and highly confidential materials.
  15               State Farm does object to Plaintiff’s service of subpoenas on third parties
  16 seeking privileged information of State Farm. In particular, State Farm is examining
  17 the scope of the subpoena recently served on Mr. Safarian and will pursue meet and
  18 confer and motion practice to the extent the subpoena threatens to invade the
  19 attorney-client privilege as between State Farm and Mr. Safarian unrelated to his
  20 representation of Mrs. Lacey.
  21               State Farm contends that setting discovery deadlines is premature, given that
  22 Civil Code section 2860 arbitration is mandatory here and may warrant staying
  23 discovery altogether. To the extent the Court is nonetheless inclined to set deadlines
  24 at the initial conference, State Farm’s suggested dates appear below.
  25                                       c.          Electronically Stored Information
  26               The Parties agree that to the extent that electronically stored information
  27 (ESI) exists, they will agree to produce the requested information subject to an ESI
  28 and Protective Order in conformance with the Federal Rules of Civil Procedure.
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   1                                       d.          Inadvertent Production
   2               The parties agree that the inadvertent or unintentional disclosure of any
   3 information subject to a claim of attorney-client privilege, work product immunity,
   4 or any other applicable privilege or substantive right (collectively, “Inadvertently
   5 Produced Information”) shall not be deemed a waiver in whole or in part of the
   6 party’s claim of privilege or work product immunity, either as to the specific
   7 information disclosed or as to any other information relating thereto or on the same
   8 subject matter. If a party or non-party has produced and/or otherwise disclosed
   9 Inadvertently Produced Information, the receiving party, upon request, or, on its
  10 own initiative at such time as the receiving party reasonably and in good faith
  11 believes itself to be in possession of Inadvertently Produced Information, whichever
  12 occurs first, shall promptly return the Inadvertently Produced Information, and all
  13 copies of said information that may have been made and any notes regarding said
  14 information shall be destroyed. The parties will set forth more detail regarding the
  15 procedures for “clawing-back” any Inadvertently Disclosed Information in a
  16 mutually acceptable protective order.
  17                                       e.          Privileged Materials
  18               The parties agree that to the extent any party intends to assert a claim of
  19 privilege or protection as trial preparation material, any such claim must be made in
  20 a timely manner and in accordance with the Local Rules and FRCP 26(b)(5).
  21 VIII. NON-DISPOSITIVE MOTIONS
  22               A.          Plaintiffs’ Position
  23               Plaintiffs do not presently anticipate motions to add parties or claims, file
  24 amended pleadings, transfer venue, etc. Discovery motion practice may be required
  25 in the event disputes over production arise and the meet and confer process fails to
  26 resolve the disputes.
  27               B.          Defendant’s Position
  28               State Farm anticipates filing (1) a motion for judgment on the pleadings
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   1 regarding the duty to defend David Lacey before tender of defense of the Second
   2 Amended Complaint in the Abdullah Action, which can be resolved based on the
   3 allegations of Mrs. Lacey’s Complaint and documents incorporated by reference; (2)
   4 a motion to compel arbitration and to stay the litigation pending completion of
   5 arbitration under California Civil Code section 2860. To the extent any issues
   6 remain following arbitration, State Farm expects to file a motion for summary
   7 judgment. State Farm also expects discovery motion practice given that Lacey has
   8 already sought to obtain State Farm’s privileged and confidential information by
   9 third party subpoena, which was withdrawn. State Farm does not anticipate a
  10 motion seeking to add other parties or transfer venue. State Farm reserves the right
  11 to file other motions as they may become necessary.
  12 IX.           CLASS CERTIFICATION
  13               N/A.
  14 X.            DISPOSITIVE MOTIONS
  15               A.          Plaintiffs’ Position
  16               Plaintiffs anticipate filing a dispositive motion based on State Farm’s breach
  17 of contract and bad faith conduct.
  18               B.          Defendant’s Position
  19               After Section 2860 arbitration, State Farm anticipates filing a motion for
  20 summary judgment as to any claims or issues remaining after arbitration, including
  21 on the breach of contract and bad faith claims. State Farm proposes a cut-off date
  22 for summary judgment motions of 45 days after the expert discovery cut-off date.
  23 XI.           SETTLEMENT/ALTERNATIVE DISPUTE RESOLUTION (ADR)
  24               A.          Plaintiffs’ Position
  25               Plaintiffs engaged State Farm’s coverage counsel in pre-filing settlement
  26 discussions, which were unsuccessful. Plaintiffs are amenable to private mediation.
  27               B.          Defendant’s Position
  28               The parties have not had any settlement discussions since the filing of this
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   1 lawsuit. Because arbitration of Cumis fee disputes is mandated by California
   2 statute, State Farm does not believe that any form of ADR will be productive until
   3 after completion of arbitration. To the extent issues remain in dispute after
   4 completion of arbitration, State Farm is amenable to private mediation.
   5 XII. PRETRIAL CONFERENCE AND TRIAL PROPOSED SCHEDULE
   6               A.          Plaintiffs’ Position
   7               In response to Defendant’s contentions below: Plaintiffs adamantly reject
   8 Defendant’s contention that any section 2860 arbitration is appropriate at this time
   9 (or potentially at all). Again (and as noted above): where, as here, Plaintiffs have
  10 alleged that an insurer wrongfully denied coverage altogether to an insured, leaving
  11 him to defend himself during the first two iterations of the underlying plaintiffs’
  12 complaint (thereby forfeiting the benefits of section 2860), the law is clear that the
  13 insured’s claims must be adjudicated before any potential section 2860 arbitration.
  14 This is because the plaintiff’s success on such claims eliminates the need for the
  15 section 2860 arbitration. Accordingly, and consistent with Rule 16, Plaintiffs
  16 request the settling of trial and pre-trial dates.
  17               B.          Defendant’s Position
  18               Because California law mandates that Cumis fee disputes be resolved by
  19 binding arbitration, and the Cumis fee dispute is the gravamen of the claims alleged
  20 in this case, State Farm maintains that setting trial and pretrial deadlines is
  21 premature. To the extent the Court is nonetheless inclined to set deadlines at the
  22 initial conference, State Farm’s suggested dates appear in the table below.
  23               C.          Proposed Schedule
  24                                                             Lacey’s
                      Event                                                              State Farm’s Proposed Date
  25                                                      Proposed Date
  26    Trial                                      August 4, 2025                       November 10, 2025
  27                                               9:00 a.m.                            9:00 a.m.
  28
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   1    Final Pretrial                             July 28, 2025                         October 6, 2025
   2    Conference                                 9:00 a.m.                             9:00 a.m.
   3    Last Day to File                           April 11, 2025                        July 16, 2025
   4    Dispositive Motions
   5    Last Day to                                May 31, 2025                          August 15, 2025
   6    Conduct ADR
   7    Discovery Cutoff                           Fact – April 4, 2025                  Fact – April 4, 2025
   8    (Fact & Expert)                            Expert – June 6, 2025                 Expert – June 6, 2025
   9    Rebuttal Expert                            May 9, 2025                           May 9, 2025
  10    Reports
  11    Initial Expert                             April 11, 2025                        April 11, 2025
  12    Reports
  13    Last Day to Move   September 13, 2024                                            September 13, 2024
        to Amend Pleadings
  14    or Add New Parties
  15
  16 XIII. TRIAL ESTIMATE
  17       The parties estimate that the trial of this matter will last approximately four
  18 (4) court days. Plaintiffs demand a jury trial on all issues so triable. To the extent
  19 this litigation proceeds to trial, State Farm has demanded a jury trial on all issues so
  20 triable.
  21
  22 XIV. TRIAL COUNSEL
  23
  24                                  Counsel                                                        Party
  25    ELLIS GEORGE LLP                                                           Plaintiffs
        Trent Copeland
  26    Keian Vahedy
        2121 Avenue of the Stars
  27    30th Floor
        Los Angeles, CA 90067
  28
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   1                                  Counsel                                                     Party
   2    K&L Gates LLP                                                              Plaintiffs
        Ryan Q. Keech
   3    Kevis S. Asfour
        Zachary T. Timm
   4    10100  Santa Monica Blvd
        8th Floor
   5    Los Angeles, CA 90067
   6    SHEPPARD, MULLIN, RICHTER &                                                Defendant
        HAMPTON LLP
   7    Jennifer Hoffman
        333 South Hope Street, 43rd Floor
   8    Los Angeles, California 90071-1422
   9    SHEPPARD, MULLIN, RICHTER &                                                Defendant
        HAMPTON LLP
  10    Jeffrey S. Crowe
        650 Town Center Drive, 4th Floor
  11    Costa Mesa, California 92626-1993
  12    SHEPPARD, MULLIN, RICHTER &                                                Defendant
        HAMPTON LLP
  13    Andrea S. Warren
        501 West Broadway, 18th Floor
  14    San Diego, California 92101-3598
  15
  16 XV. INDEPENDENT EXPERT MASTER
  17      The Parties do not presently anticipate the necessity of a master. Plaintiffs,
  18 however, reserve their rights to designate a standard of care expert to address State
  19 Farm’s underlying breach. State Farm reserves the right to designate experts as
  20 needed.
  21 XVI. OTHER ISSUES
  22      None at this time.
  23
  24
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   1 DATED: July 18, 2024                                                 ELLIS GEORGE LLP
   2                                                                         Trent Copeland
                                                                             Keian Vahedy
   3
   4
   5                                                                      By:          /s/ Trent Copeland
   6                                                                                        TRENT COPELAND
                                                                                 Attorneys for Plaintiff JACQUELYN
   7                                                                             “JACKIE” LACEY, in her individual
                                                                                 capacity; and JACQUELYN “JACKIE”
   8                                                                             LACEY as trustee of the D and J Lacey
   9                                                                             Family Trust dated November 23, 2016

  10
       DATED: July 18, 2024                                               K&L Gates LLP
  11                                                                         Ryan Q. Keech
  12                                                                         Kevin S. Asfour
                                                                             Zachary T. Timm
  13
  14
  15                                                                      By:          /s/ Ryan Q. Keech
  16                                                                                         RYAN Q. KEECH
                                                                                 Attorneys for Plaintiff JACQUELYN
  17                                                                             “JACKIE” LACEY, in her individual
  18                                                                             capacity; and JACQUELYN “JACKIE”
                                                                                 LACEY as trustee of the D and J Lacey
  19                                                                             Family Trust dated November 23, 2016
  20 DATED: July 18, 2024                                                 SHEPPARD, MULLIN, RICHTER &
  21                                                                      HAMPTON LLP
                                                                             Jennifer M. Hoffman
  22                                                                         Jeffrey S. Crowe
  23                                                                         Andrea S. Warren
  24
  25
                                                                          By:          /s/ Jennifer M. Hoffman
  26                                                                                     JENNIFER M. HOFFMAN
  27                                                                             Attorneys for Defendant STATE FARM
                                                                                 GENERAL INSURANCE COMPANY
  28
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   1                                                     L.R. 5-4.3.4 ATTESTATION
   2               Pursuant to L.R. 5-4.3.4, the undersigned counsel hereby attests that all other
   3 counsel signing via an “/s/” signature have authorized this filing and the application
   4 of their signatures thereon.
   5
   6 DATED: July 18, 2024
   7
   8
   9
                                                                          By:          /s/ Trent Copeland
  10                                                                                        TRENT COPELAND
  11                                                                             Attorneys for Plaintiff JACQUELYN
                                                                                 “JACKIE” LACEY, in her individual
  12                                                                             capacity; and JACQUELYN “JACKIE”
                                                                                 LACEY as trustee of the D and J Lacey
  13                                                                             Family Trust dated November 23, 2016
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